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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


In Re: HERBERT G. ROGERS, III                  CHAPTER 11                  NO: 11-15431 DWH


HERBERT G. ROGERS, III                                                              PLAINTIFF

VS.                                          ADVERSARY NO:

MERCHANTS & FARMERS BANK                                                          DEFENDANT
A/K/A MERCHANTS AND FARMERS BANK
 SECURITIES CORPORATON


   COMPLAINT TO SET ASIDE TRANSFER TO MERCHANTS & FARMERS BANK
  PURSUANT TO 11 U.S.C. §§ 547 & 548 AND FOR DAMAGES AND OTHER RELIEF

                                   JURY TRIAL DEMANDED


       COMES NOW Plaintiff, HERBERT G. ROGERS, III, in the above-styled bankruptcy

case, by and through undersigned counsel, and files this his Complaint to Set Aside Preferential

Transfer to Merchants & Farmers Bank Pursuant to 11 U.S.C. §§ 547 and 548 and Other Relief,

respectfully showing unto the Court as follows:

       1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and 28

U.S.C. § 157 since it arises in and is related to the above-styled case.

       2. This complaint is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(F) in that the

Plaintiff seeks to set aside a transfer of stock in BNA Bank to Defendant, Merchants & Farmers

Bank (“M & F Bank”), which resulted in a preferential transfer to M & F Bank.




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       3. The Plaintiff is an adult resident citizen of the Northern District of Mississippi and is

the debtor-in-possession, who filed a petition for relief under Chapter 11 of the Bankruptcy Code

on the 21st day of November, 2011.

       4. The Defendant, M & F Bank, is a bank organized under the laws of the state of

Mississippi, and process may be served upon its registered agent, Hugh S. Potts, Jr., at 221 E.

Washington Street, Kosciusko, Mississippi 39090.

       5. On or about August 25, 2011, the Plaintiff was forced to transfer 36,009 shares of

stock to M & F Bank for the sum of $43.00 per share, said shares having been pledged as

security for a loan issued by M & F Bank to Plaintiff.

       6. At the time of the transfer, the stock had a value of approximately Fifty Dollars and

No/100 ($50.00) per share in that stock in BNA Bank was normally being transferred for a value

of $50.00 per share range when no dividends were expected in the near or immediate future.

       7. M & F Bank seized the 36,009 shares in BNA as collateral for the loan. Upon seizing

the shares, M & F Bank contacted BNA to investigate the procedures of BNA concerning the

transfer of the shares. During the conversation with BNA, an officer for BNA stated the value of

the shares to be about Fifty Dollars and No/100 ($50.00) based on recent transfers. Additionally,

since a dividend of approximately $2.00 per share was anticipated to be paid within a couple

months, that should be taken into consideration when valuing the shares.




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        8. BNA advised M & F Bank that its shares had a sound value and that such a block of

shares would be attractive to prospective investors because BNA does not have a large float of

shares. Further, BNA stated that it knew of potential investors that would be interested in

purchasing the block of 36,009 shares for fair market value.

        9. Nevertheless, even after receiving this information from BNA, M & F Bank took the

shares and only credited Plaintiff with $43.00 per share.

        10. As stated, at the time of the transfer of the stock to M & F Bank, the Plaintiff

expected to receive dividends of approximately $2.00 per share within a couple months of the

date of the transfer.

        11. The Plaintiff requested that M & F Bank allow the Plaintiff to wait until the

dividends were paid which would have covered the interest due on the loan in favor of M & F

Bank at the time the dividends were to be paid.

        12. Prior to the transfer of the stock to M & F Bank, the Plaintiff owed a debt to M & F

Bank and the value of his assets was less than the amount owed by the Plaintiff; and upon the

completion of the transfer, the Plaintiff’s debts exceeded $5,000,000.00 which exceeded the

value of the Plaintiff’s assets.

        13. On or about December 1, 2011, M & F Bank was paid the sum of $76,618.90 by

BNA Bank as the dividend on the shares of BNA Bank, which constituted a distribution of $2.10

per share for which the Plaintiff received no credit.




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               COUNT I. – CLAIM TO AVOID PREFERENTIAL TRANSFER

        14. The allegations in paragraphs 1 through 13 of this Complaint are re-alleged and

incorporated herein by this reference

        15.    At the time of the transfer of the stock to M & F Bank and the date of the filing of

the petition for relief under Chapter 11 of the Bankruptcy Code, M & F Bank was and is a

creditor of the Plaintiff.

        16. At the time of the transfer of the stock to M & F Bank, the bank was the holder of an

antecedent debt owed by the Plaintiff in the approximate amount of $2,150,000.00.

        17. At the time of the transfer of the stock to M & F Bank, the Plaintiff was insolvent.

        18. The transfer of the stock occurred within the 90 days immediately preceding the

filing of the Chapter 11 Petition.

        19. As a result of the transfer, M & F Bank will receive more than it would under

Chapter 7 liquidation.

        20. As a result of the transfer meeting each of the above conditions, the transfer

constitutes a preference with the provisions of 11 U.S.C. § 547, and the Plaintiff is entitled to

have the transfer set aside and that the Plaintiff be returned the sum of $76,618.90, which is the

amount received by M & F Bank in the form of a dividend at the rate of $2.10 per share of the

stock received in the preferential transfer; or in the alternative, the Court should direct that the

Plaintiff be credited with an additional $255,663.90, along with the dividend amount and reduce

the total debt owed to M & F Bank by said amount.




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   COUNT II. – CLAIM TO SET ASIDE TRANSFER AS FRAUDULENT TRANSFER

       21. The allegations in paragraphs 1 through 20 of this Complaint are re-alleged and

incorporated herein by this reference.

       22. The transfer of the shares of stock in BNA Bank to M & F Bank was done within

two years preceding the filing of the petition for relief under Chapter 11 of the Bankruptcy Code.

       23. The transfer was for less than the value of the outstanding shares in BNA Bank, and

that said value was confirmed by BNA to an M & F Bank officer.

       24. As a result of the transfer for less than value, the transfer of said shares in BNA

Bank constitutes a Fraudulent Transfer within the meaning of 11 U.S.C. § 548, and the Plaintiff

is entitled to have the transfer set aside. Additionally, the Plaintiff should be returned the

$76,618.90 received by M & F Bank in the form of a dividend at the rate of $2.10 per share after

the taking of the shares via the Fraudulent Transfer.

                COUNT III. – CLAIM FOR INJUNCTIVE RELIEF
       (REQUEST FOR TRO, PRELIMINARY AND PERMANENT INJUNCTION)

       25.    The allegations in paragraphs 1 through 24 of this Complaint are re-alleged and

incorporated herein by this reference.

       26. On information and belief, the Plaintiff submits that M & F Bank still holds the

outstanding shares of stock in BNA Bank.

       27. Since the transfer can be set aside pursuant to 11 U.S.C. §§ 547 and 548 and M & F

Bank still holds the shares, the Plaintiff contends that M & F Bank should be enjoined from

selling the stock for less than $50.00 per share.



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        28. The outstanding shares remain property of the Bankruptcy Estate. Thus, the

Plaintiff request that a TRO or preliminary injunction be issued enjoining from the sale of the

stock for less than $50.00 per share pending a final hearing on this Adversary Proceeding.

                                  COUNT IV. – NEGLIGENCE

        29. The allegations in paragraphs 1 through 28 of this Complaint are re-alleged and

incorporated herein by this reference.

        30. The Defendant had a duty to act in a reasonable and prudent manner in its

transaction with the Plaintiff.

        31. The Defendant breached said duty by acting in a commercially unreasonable manner

concerning the transfer of the stock. M & F Bank knew (through communications with BNA

Bank) or should have known that the value of the shares was at least Fifty Dollars and No/100

($50.00) per share when M & F seized and transferred the 36,009 shares.

        32. M & F Bank acted in a commercially unreasonably manner in valuing the shares and

only crediting Forty-Three Dollars and No/100 ($43.00) per share to the loan amount owed by

the Plaintiff.

        33. The Defendant’s breach of said duty was the actual and proximate cause of damages

suffered by the Plaintiff.

        COUNT V. – BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

        34. The allegations in paragraphs 1 through 33 of this Complaint are re-alleged and

incorporated herein by this reference.




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       35. The Defendant owed Plaintiff a duty to act in good faith and fair dealing in its

contractual relationship and transactions with Plaintiff. The Defendant had a relationship of trust

with the Plaintiff and also owed a duty to disclose information to Plaintiff.

       36. The Defendant did not seek a commercially reasonable price for the shares of stock

pledged by Plaintiff as collateral for the loan with M & F Bank. M & F Bank did not advertise

the shares for sale, publicly or privately. M & F Bank ignored and disregarded the

representations of BNA that its shares were valued at Fifty Dollars and No/100 ($50.00) per

share; that a dividend of approximately Two Dollars and No/100 ($2.00) per share was due to be

paid; and that investors were in the market for such BNA shares and would pay a fair market

value for the shares.

       37. Instead, M & F Bank took the shares and transferred them to itself at Forty-Three

Dollars and No/100 ($43.00) a share, a price which is at least $7.00 a share cheaper than the fair

market value, for M & F Bank’s independent gain.

       38.     M & F Bank’s conduct as aforesaid breaches said duties and gives rise to the tort

of bad faith for the tortious breach of its duty of good faith and fair dealing with respect to its

contractual relationship with Plaintiff

       39. The actions and inactions of M & F Bank in breaching its duty of good faith and fair

dealing caused damage to the Plaintiff of at least Three Hundred, Thirty-Two Thousand, Two

Hundred, Eighty-Two Dollars and 80/100 ($332,282.80).




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                                   COUNT VI. – CONVERSION

        40. The allegations in paragraphs 1 through 39 of this Complaint are re-alleged and

incorporated herein by this reference.

        41.    As a result of the transfer of shares described above, M&F Bank converted

securities of Plaintiff and deprived Plaintiff of the fair market value of the shares. Further, M&F

Bank took the entire dividend paid by BNA on the shares without allowing Plaintiff any credit or

additional value to the price of the shares seized and taken by M&F Bank, even though M&F

Bank was advised of the fair market value of the shares and pending dividend distribution.

        42.   M&F Bank converted Plaintiff’s assets and exercised dominion and control over

the shares of stock. M&F Bank’s actions exhibited intent as well as a willful, wanton and

reckless disregard for the rights of Plaintiff.

        43.   As a result, Plaintiff suffered damages because of M&F Bank’s conduct.

        WHEREFORE PREMISES CONSIDERED, Plaintiff prays that upon a hearing

hereon, this Court will enter its Order granting the following relief:

        a.      Empanel a jury to consider the appropriate causes of action.
        b.      Set aside the transfer of the shares in BNA Bank, which were transferred to M&F
                Bank on or about August 25, 2011.
        c.      Grant a Temporary Restraining Order and/or preliminary injunction enjoining M
                & F Bank from the sale of said stock unless the a sale is for the sum of $50.00.
        d.      Order M & F Bank to refund to the Plaintiff the sum of $76,618.90 which
                constituted the dividends paid to said bank in the form of dividends from BNA
                Bank.



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      e.   Grant a permanent injunction as to any sale of stock for a value less than the value
           of said stock until such time as a full hearing on the Adversary Complaint can be
           held.
      f.   Alternatively, allow the transfer of the stock to M & F Bank to remain with said
           bank, but require that M & F Bank give the Plaintiff credit of the sum of
           $332,282.80 for said stock and dividend distribution on the outstanding loans
           owed by the Plaintiff to M & F Bank as compensatory damages.
      g.   Award Veasley damages allowable pursuant to Universal Life Ins. Co. v. Veasley,
           610 So.2d 290 (Miss. 1992)
      h.   Attorney fees and costs.
      i.   Punitive damages for the intentional, willful, wanton and reckless conduct of the
           Defendant.
      j.   Grant such other, further and reasonable relief to which the Plaintiff would be
           entitled.
                                         Respectfully submitted,
                                         HERBERT G. ROGERS, III, Plaintiff

                                      By: /s/ Justin Strauss Cluck
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